Case 3:23-cv-03417-VC   Document 562-50   Filed 04/25/25   Page 1 of 4




         EXHIBIT 163
    Case 3:23-cv-03417-VC        Document 562-50       Filed 04/25/25     Page 2 of 4
                                                                     Case No. 3:23-cv-03417-VC




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



RICHARD KADREY, an individual, et al.

                   v.

META PLATFORMS, INC., a Delaware                      Case No. 3:23-cv-03417-VC
corporation;
              Defendant.




SECOND REBUTTAL EXPERT REPORT OF BARBARA FREDERIKSEN-CROSS (TO THE
   “REBUTTAL REPORT OF DAVID R. CHOFFNES, PH.D., FEBRUARY 26, 2025”)

                        Signed in Hubbard, Oregon on April 1, 2025




                 ____________________________________________

                                Barbara Frederiksen-Cross




                                            1
        Case 3:23-cv-03417-VC          Document 562-50         Filed 04/25/25      Page 3 of 4
                                                                              Case No. 3:23-cv-03417-VC




      place.54 This data (which I understand was produced in discovery in this case on March 19,
      2025 pursuant to a limited reopening of discovery) indicates that, on average, the amount of
      data uploaded from these AWS instances to the Internet would not have exceeded
      approximately 30% of the amount of data that these AWS instances downloaded from the
      Internet in connection with the April to July 2024 torrent download for Internet Archive, ZLib,
      and LibGen. On average, peers could have received from Meta, approximately 30% of the
      data that Meta downloaded, further indicating that it was unlikely that Meta uploaded any of
      the Plaintiffs’ works (or any usable portion of them) to peers during either the seeding or the
      leeching phases.

61. In the next section, I discuss another mischaracterization of the BitTorrent protocol in the
      Choffnes Report, specifically the introduction of his theory that BitTorrent’s “holepunch
      extension” would provide a method for leeching peers to bypass Meta’s network configuration.

62. I note that during the deposition of Dr. Choffnes, he testified that he did not have the AWS
      data and other documents at the time he submitted his report, and stated that if given an
      opportunity, he would update his report and would supplement his Bernoulli experiment with
      this information.55 Dr. Choffnes did not specify how he would change his opinions or his
      models based on this evidence if allowed, and as such, I cannot respond to any such opinions
      at this time. In the event Dr. Choffnes is allowed at a later date to again supplement his expert
      analysis, I reserve my right to respond to the extent allowed by the Court.56



54 Table 3 of my Rebuttal Report reported a total download of 267.4 TB across LibGen Non-Fic,

IA and ZLib in 2024. A closer inspection of the file lists for IA and ZLib revealed that they
contain both the .tar files and the individual files that exist within the same .tar files. These .tar
files were counted towards the calculated total. After deduplicating by removing all .tar files, we
obtain deduplicated total amounts of 112.9 TB for IA (as opposed to 193.5 TB), and 49.17 TB
for ZLib (as opposed to 63.6 TB). I provide a revised version of Table 3 from my Rebuttal
Report in Appendix A below. This does not change the piece level percentages presented in my
rebuttal report.
55
     Choffnes Depo., 128:1-17, 132:3-133:18.
56 Dr. Choffnes also testified during his deposition that that the total amount of data downloaded

between April 5, 2024, and June 21, 2024, was 270 TB downloaded, and 62 TB uploaded. This



                                                   28
     Case 3:23-cv-03417-VC            Document 562-50         Filed 04/25/25       Page 4 of 4
                                                                             Case No. 3:23-cv-03417-VC




       C.      Holepunch Extension Does Not Allow Unsolicited Peers to Connect with
               Meta

63. The Choffnes Report attempts to brush off the significance of Meta’s firewall protections that
   are intended to block inbound connections unless Meta had previously and affirmatively
   initiated a connection with the receiving peer. 57 The Choffnes Report states that every home
   router firewall shares with Meta this “standard” behavior of blocking unsolicited inbound
   connections. This fails to recognize that instead of a single standard there are multiple ways
   firewalls can work. The Session Traversal Utilities for NAT (“STUN”) protocol specification
   discusses the various ways that Network Address Translation (“NAT”) firewall
   implementation can work and describes four such ways. 58 The effect of different firewall
   setups is also explained in the stackoverflow.com post referenced by the Choffnes Report:
   “Also, if the [sic] neither NAT is a full-cone (or let’s say, p2p-friendly) it may not be possible
   for the peers to connect. A p2p-friendly NAT generally accepts incoming connections from
   IPs they have not had any interaction with previously.”59

64. As demonstrated by this citation, while it is true that the BitTorrent protocol provides a
   “holepunch” feature, this mechanism is not always supported. Moreover, even when enabled,
   there is no guarantee that the requested connection will be successful. For example, in order
   to use the “holepunch” feature to communicate with a peer behind the firewall, the initial peer
   requires the assistance of a “relay” peer. However, if the initial peer selects a relay peer that is
   not already connected to the peer behind the firewall, the holepunch fails. This situation



amount appears to be overstated; as I noted in my SJ Declaration (footnote 28), there are
duplicates in the AWS billing data spreadsheet (Meta_Kadrey_00237299) for the April-July
2024 time period, in many cases having more than one line item corresponding to a single
transmission or receipt of data. After deduplication, this data shows 134.6 TB of data
downloaded from the Internet, and 40.42 TB of data uploaded to the Internet. I note that Meta
has since produced a de-duplicated spreadsheet for this time period (Meta_Kadrey_00238140),
which shows numbers that are consistent with the earlier spreadsheet.
57 Choffnes Report, ¶¶8-11.

58 RFC 3489, “STUN - Simple Traversal of User Datagram Protocol (UDP) Through Network

Address Translators (NATs)”, Internet Engineering Task Force, March 2003 at page 5.
59 Choffnes Report, ¶11 footnote 3.




                                                 29
